Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 1 of 33 Page ID #:4311




                                                                           Ex. 75, p. 1025
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 2 of 33 Page ID #:4312




                                                                           Ex. 75, p. 1026
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 3 of 33 Page ID #:4313




                                                                           Ex. 75, p. 1027
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 4 of 33 Page ID #:4314




                                                                           Ex. 75, p. 1028
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 5 of 33 Page ID #:4315




                                                                           Ex. 75, p. 1029
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 6 of 33 Page ID #:4316




                                                                           Ex. 75, p. 1030
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 7 of 33 Page ID #:4317




                                                                           Ex. 75, p. 1031
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 8 of 33 Page ID #:4318




                                                                           Ex. 75, p. 1032
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 9 of 33 Page ID #:4319




                                                                           Ex. 75, p. 1033
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 10 of 33 Page ID #:4320




                                                                            Ex. 75, p. 1034
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 11 of 33 Page ID #:4321




                                                                            Ex. 75, p. 1035
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 12 of 33 Page ID #:4322




                                                                            Ex. 75, p. 1036
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 13 of 33 Page ID #:4323




                                                                            Ex. 75, p. 1037
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 14 of 33 Page ID #:4324




                                                                            Ex. 75, p. 1038
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 15 of 33 Page ID #:4325




                                                                            Ex. 75, p. 1039
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 16 of 33 Page ID #:4326




                                                                            Ex. 75, p. 1040
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 17 of 33 Page ID #:4327




                                                                            Ex. 75, p. 1041
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 18 of 33 Page ID #:4328




                                                                            Ex. 75, p. 1042
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 19 of 33 Page ID #:4329




                                                                            Ex. 75, p. 1043
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 20 of 33 Page ID #:4330




                                                                            Ex. 75, p. 1044
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 21 of 33 Page ID #:4331




                                                                            Ex. 75, p. 1045
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 22 of 33 Page ID #:4332




                                                                            Ex. 75, p. 1046
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 23 of 33 Page ID #:4333




                                                                            Ex. 75, p. 1047
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 24 of 33 Page ID #:4334




                                                                            Ex. 75, p. 1048
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 25 of 33 Page ID #:4335




                                                                            Ex. 75, p. 1049
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 26 of 33 Page ID #:4336




                                                                            Ex. 75, p. 1050
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 27 of 33 Page ID #:4337




                                                                            Ex. 75, p. 1051
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 28 of 33 Page ID #:4338




                                                                            Ex. 75, p. 1052
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 29 of 33 Page ID #:4339




                                                                            Ex. 75, p. 1053
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 30 of 33 Page ID #:4340




                                                                            Ex. 75, p. 1054
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 31 of 33 Page ID #:4341




                                                                            Ex. 75, p. 1055
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 32 of 33 Page ID #:4342




                                                                            Ex. 75, p. 1056
Case 2:07-cv-08310-BRO Document 17-13 Filed 12/17/08 Page 33 of 33 Page ID #:4343




                                                                            Ex. 75, p. 1057
